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 6                                 UNITED STATES DISTRICT COURT
 7                                WESTERN DISTRICT OF WASHINGTON
                                            AT SEATTLE
 8
 9    UNITED STATES OF AMERICA,                            Case No. CR19-203RSM
10
                     Plaintiff,                            ORDER CONTINUING TRIAL
11
                       v.
12
13    DANIEL HERNANDEZ et al.,

14                 Defendants.
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16          On September 8, 2020, Defendant Faustino Islas-Estrada filed a request for a status

17   conference to discuss the impact of COVID-19 on pretrial motions and whether this case can
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     proceed to trial on November 30, 2020.          Dkt. #316.    Several other Defendants and the
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     Government have joined in that request. Dkts. ##317-321 and #323. On September 23, 2020,
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     the Court issued a Minute Order directing the parties to submit briefing on this issue. Dkt.
21
22   #327. The Court has now reviewed briefing from the parties and determined that a trial

23   continuance is necessary given the COVID-19 pandemic, the number of defendants, and the
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     other procedural circumstances of this case mentioned by the parties. The Court specifically
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     finds that the ends of justice served by this continuance outweigh the best interests of the public
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27   and any defendant’s right to a speedy trial, pursuant to 18 U.S.C. §3161(h)(7)(A). The Court

28   further finds that failure to continue this trial would likely make trial impossible and result in a



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     miscarriage of justice, and would deny counsel for defendants the reasonable time necessary for
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 2   effective preparation, taking into account the exercise of due diligence.       18 U.S.C. § §

 3   3161(h)(7)(B)(i), (iv).
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            Accordingly, the Court hereby FINDS and ORDERS:
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            1. Trial is CONTINUED to May 24, 2021. The pretrial motion deadline is continued
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 7              to March 25, 2021. The time between today’s date and May 24, 2021, is excluded in

 8              computing the time within which trial must commence pursuant to 18 U.S.C. §
 9              3161(h).
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            2. The Government is directed to submit to the Court a proposed order setting forth a
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                discovery schedule no later than seven (7) days from today’s date.
12
13          DATED this 2nd day of October, 2020.

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                                                 A
                                                 RICARDO S. MARTINEZ
                                                 CHIEF UNITED STATES DISTRICT JUDGE
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     ORDER CONTINUING TRIAL - 2
